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 1   MICHAEL J. STORTZ (SBN 139836)
     mstortz@akingump.com
 2   AKIN GUMP STRAUSS HAUER & FELD LLP
     580 California Street, Suite 1500
 3   San Francisco, CA 94104
     Telephone: 415-765-9500
 4   Facsimile:    415-765-9501
 5   BRETT M. MANISCO (SBN 318351)
     bmanisco@akingump.com
 6   AKIN GUMP STRAUSS HAUER & FELD LLP
     1999 Avenue of the Stars, Suite 600
 7   Los Angeles, CA 90067-6022
     Telephone: 310.229.1000
 8   Facsimile:   310.229.1001
 9
     THE REFUGEE AND IMMIGRANT CENTER FOR
10   EDUCATION AND LEGAL SERVICES
     MANOJ GOVINDAIAH (Pro Hac Pending)
11   manoj.govindaiah@raicestexas.org
12   Attorneys for Plaintiff-Intervenors
     B.L.N., D.F.L.G., and W.B.
13
14                            UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16
17   JENNY L. FLORES, et al.,                 Case No. 2:85-cv-04544-DMG-AGRx
18                                            [Judge: Hon. Dolly M. Gee]
19                      Plaintiffs,           DECLARATION OF SHALYN
                                              FLUHARTY IN SUPPORT OF EX
20        vs.                                 PARTE APPLICATION FOR LEAVE
                                              TO INTERVENE
21
22   EDWIN MEESE, et al.,
23                      Defendants.           Date Action Filed: July 11, 1985
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 1         I, Shalyn Fluharty declare as follows:
 2         1.        I am an attorney licensed by the State of California and the Director of
 3   Proyecto Dilley, a project of the Asylum Defense Project. Proyecto Dilley provides free
 4   legal services to mothers and children who are detained at the South Texas Family
 5   Residential Center (“STFRC” or “Dilley”) in Dilley, Texas. I make this Declaration of
 6   my own personal knowledge and/or through matters made know to me through my
 7   position as Director of Proyecto Dilley, and if called, would testify to the matters set
 8   forth herein.
 9         2.        Between 2015 and 2020, Proyecto Dilley has provided legal services to
10   more than 55,000 families during their detention at STFRC.
11         3.        Proyecto Dilley has formerly operated as the “CARA Pro Bono Project”
12   and the “Dilley Pro Bono Project.” The changes in name reflect changes to the non-
13   profit organizational partners that provide financial support to facilitate the provision of
14   legal services on the ground in Dilley.
15
16   Introduction
17         4.        It is my opinion that negotiated procedures developed by Class Counsel
18   and the government to implement a family separation policy in the midst of a global
19   pandemic defy the terms of the Flores Settlement Agreement, (the “Settlement”) place
20   children at great risk of harm, and conflict directly with the Due Process Clause of the
21   Fifth Amendment of the United States Constitution.
22         5.        Representing the rights of all immigrant children is no small feat. The
23   individual circumstances of each child are unique, and the needs of one child often
24   diverge from those of another. I have found, however, three things to be universally true
25   during my work with immigrant children: children long to be free from detention; they
26   want to be safe; and they want to be with their family. The Flores Settlement Agreement
27   enshrines these core human rights of family unity, safety, and freedom, and for that, as
28   an advocate for children, I am grateful.
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 1         6.     The question here, with the “waiver” process, is whether one of the rights
 2   deliberately enumerated by the terms of the Settlement may be pitted against another
 3   and categorically surrendered. Must Class Members separate from their parents in order
 4   to be safe? Must Class Members accept indefinite detention in order to preserve their
 5   right to remain in the care and custody of their parent? The Settlement and Constitution
 6   resoundingly answer “no.”
 7         7.     For the hundreds of Class Members I have represented in the past, and the
 8   80 children currently represented by Proyecto Dilley, none of these three rights has
 9   greater value over another. The principals of safety, family unity, and freedom are of
10   equal importance to Class Members and have equal contractual weight based upon the
11   Settlement that was fairly negotiated 23 years ago.
12         8.     For this reason, Class Members detained at Dilley seek an opportunity to
13   be heard and a chance to formally participate in the proceedings before the Court. Their
14   participation is necessary to prevent the wholesale compromise of their rights absent full
15   consideration of their interests.
16
17   The Flores Settlement Agreement Has Informed My Legal Practice for More Than
18   Ten Years.
19         9.     My experience with the Flores Settlement Agreement began in law school
20   when I clerked with the Youth Law Center under the supervision of Alice Bussiere, one
21   of the lawyers who negotiated the Settlement. During my time at the Youth Law Center,
22   I reviewed and analyzed reports filed by the government regarding the length of time
23   children spent in custody. Based upon this work, I am familiar with the type of data the
24   government regularly provides to Class Counsel, and now the Special Monitor,
25   regarding the length of detention for immigrant children in government custody and
26   their type of placement.
27         10.    I have participated in Flores monitoring visits at processing centers
28   operated by Customs and Border Patrol (“CBP”) as a volunteer and have toured the
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 1   McAllen CBP Processing Center and the Ursula Central Processing Center warehouse
 2   on multiple occasions. Based upon these experiences, I appreciate the type of access
 3   Flores counsel has as a matter of right to detention facilities that hold children and the
 4   unique considerations and challenges children face at the border.
 5         11.    Over the years, I have reviewed Office of Refugee Resettlement (“ORR”)
 6   records for hundreds of individual children, including children who have been held in
 7   ORR-operated Residential Treatment Centers, short-term foster care programs, long-
 8   term foster care programs, and the Unaccompanied Minors Program. I have participated
 9   in formal stakeholder meetings with ORR at the local and headquarters level, attended
10   numerous national conferences on unaccompanied children, and provided trainings
11   regarding unaccompanied children at the local and national level. I have developed an
12   educational game for children in ORR custody to explain the reunification process and
13   its many complexities to children. This work and experience has given me profound
14   insight into the nuances of the reunification process for accompanied children and the
15   tension that exists between protecting children and releasing them from government
16   custody without unnecessary delay.
17         12.    My most meaningful experience with the reunification process for
18   unaccompanied children comes from my experience representing hundreds of these
19   children in ORR custody. Prior to representing detained families, I provided free legal
20   services to unaccompanied children at numerous non-profit organizations funded by
21   ORR through sub-grants to the Vera Institute of Justice. I worked with unaccompanied
22   children who were placed in ORR custody at the Yolo County Juvenile Hall, a secure
23   facility in Woodland, California, for three years. I spent an additional three years
24   representing unaccompanied children who were detained by ORR in shelter and staff
25   secure placements in Chicago, Illinois and Westchester, New York.
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 1   Accompanied Children Who Face Separation From Their Parents Require More
 2   Protection Than Unaccompanied Children, Not Less.
 3         13.    It is the totality of this experience that leads me to conclude that
 4   accompanied children who face separation from their accompanying parents require
 5   more protections in the reunification process than accompanied children, not less.
 6         14.    With few exceptions, the children I represented in ORR custody identified
 7   a receiving person prior to their journey to the United States. In other words,
 8   unaccompanied children are more likely than not to travel to the United States for
 9   protection because there was an adult here who was able and willing to receive them
10   alone and who their parent entrusts with their care. ORR data from fiscal year 2018
11   shows that 76 percent of released unaccompanied children were reunified to a family
12   member and 47 percent were released to their parent or legal guardian. See
13   Congressional Research Serv., R43599, Unaccompanied Alien Children: An Overview,
14   at 14 n.62 (Oct. 9, 2019), https://fas.org/sgp/crs/homesec/R43599.pdf (citing
15   unpublished data provided to CRS by U.S. Department of Health and Human Services,
16   Administration for Children and Families, Office of Refugee Resettlement, Office of
17   Legislative Affairs, June 26, 2019). The process proposed by ICE and Class Counsel
18   conflicts directly with the guiding process used for unaccompanied children;
19   accompanied children will be categorically separated from their parents, not reunited
20   with their parents.
21         15.    A very small percentage of my unaccompanied child clients did not have a
22   viable sponsor. As a result, these children were transferred to short- or long-term foster
23   care placements or placed in the Unaccompanied Minors Program. These alternative
24   options for leaving congregate care settings, based upon my understanding of Class
25   Counsel’s negotiations with the government, are not available alternatives for
26   accompanied children.
27         16.    Like unaccompanied children, accompanied children arrive to the United
28   States with a pre-identified release plan that has been decided by their parent. Unlike
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 1   unaccompanied children, however, a parent’s release plan is premised on the
 2   presumption that a sponsor will provide food, shelter, and other assistance to the family
 3   as a unit while the child’s accompanying parent will provide care to the child. This
 4   means that many, if not most, of accompanied children have no alternative sponsor
 5   options available, other than their accompanying parent.
 6         17.    In many circumstances, the accompanied children Proyecto Dilley
 7   represents were targeted for harm prior to their departure from their home country. The
 8   parent who accompanies the child came to the United States with the child because
 9   there is no one in the United States who is appropriate to provide care for the child in
10   the absence of their parent. In other words, the child is accompanied for a reason.
11   Perhaps in some circumstances the parent would have considered sending their child—
12   subsequent to the child’s targeting for persecution or torture—to the United States alone.
13   However, this is not an option for the child without an alternative suitable custodian in
14   the United States.
15         18.    Although many of the families Proyecto Dilley represents will be received
16   by family members they know and trust, I have represented many family units who are
17   destined to reside with individuals neither the parent nor their child have ever met.
18   Frequently, these identified sponsors are distant relatives they’ve never met, friends of a
19   friend, or individuals who the parent met on Facebook who funded their travel. When
20   Proyecto Dilley learns about release plans that seem precarious or concerning, we
21   explore the parent’s receptiveness to alternative placement options and partner with
22   shelters who provide care and legal services to asylum-seekers who can receive these
23   families instead. Although our work provides a meaningful safety net to families who
24   may be in danger, to the extent our services or similar services are not available to
25   families forced to make a choice regarding family separation, children could end up
26   released to individuals who have no intention of keeping them safe.
27         19.    Unfortunately, there have been many times when parents we represent
28   inform us subsequent to their release that they are in danger and not safe in the home of
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 1   their sponsor. To the greatest extent possible, we help these mothers identify
 2   immediately available alternative housing options to keep their family safe and, in some
 3   circumstances, provide assistance by calling the police. In other circumstances, we
 4   assist families in moving from the home of one sponsor to the home of another by
 5   providing support as they navigate changing their address with the immigration court
 6   and ICE to another jurisdiction. Proyecto Dilley’s resources have always been limited
 7   and narrowly focused on providing support to families during their detention in Dilley.
 8   This means many families, upon release, have no support system at all, and not even the
 9   support of our project, when they find themselves in harm’s way.
10         20.    Generally speaking, an accompanied parent who is placed with a child at a
11   family detention center is presumed to be an appropriate caregiver for the child. I have
12   observed a notable difference between accompanied and unaccompanied children
13   regarding the likelihood that a child has experienced abuse, neglect, or abandonment at
14   the hands of their parent. Family detention centers prohibit, broadly, the placement of
15   parents who have criminal histories at family detention centers. When ICE has reason to
16   believe a parent has a criminal history, or a history that poses a risk to the safety of the
17   child they accompany, the parent and child are separated, generally, prior to their arrival
18   to STFRC. The assumption that a parent who is detained at a family detention facility
19   with their child is a safe and proper caregiver for their child is therefore not only based
20   upon the legal or natural relationship between the child and parent, but also upon the
21   background checks ICE conducts for each parent and the ongoing observations of
22   parents while they care for their children directly at each facility.
23         21.    This is distinct from my experience working with unaccompanied children.
24   In many circumstances, unaccompanied children who come to the United States to join
25   their parent have experienced a significant period of time separated from that parent
26   prior to their arrival in the United States. In other circumstances, as I witnessed during
27   my work with children in secure facilities, the child came into ORR custody after
28   residing in the United States for many years with their parent. In this very small subset
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 1   of children, it was not uncommon for the parent with whom the child resided inside the
 2   United States to have a history with child protective services or for the child to disclose
 3   harm they suffered within the household prior to coming into ORR custody. While ORR
 4   works to reunify these children to the greatest extent possible, it simultaneously works
 5   to provide parents with access to supportive services to support them in providing care
 6   to their children.
 7         22.    While seemingly irrelevant, these realities highlight the irony between the
 8   ORR family reunification process for unaccompanied children, which works to reunify
 9   children with their parents to the greatest extent possible, and ICE’s new proposed
10   family separation protocol, which works to separate children from their accompanying
11   parents with no safeguards and no reason. In effect, ICE’s family separation paradigm
12   guts the preference for parent-child reunification that was bargained for in paragraph 14
13   of the Settlement.
14         23.    Prior to my work with Proyecto Dilley, I spent approximately three years
15   working as the Managing Attorney of the Young Center for Immigrant Children’s Rights
16   in Harlingen, Texas. The Young Center advocates for the rights and best interests of
17   immigrant children. Young Center attorneys, social works, and bilingual volunteers are
18   directly appointed by ORR to serve as Child Advocates, or guardian ad litems. Child
19   Advocates make best interests recommendations on behalf of particularly vulnerable
20   children throughout the child’s detention and immigration proceedings. During my time
21   with the Young Center, I worked primarily on behalf of children who were survivors of
22   human trafficking and on behalf of children whose potential release from custody to a
23   sponsor—including to parent sponsors—raised concerns regarding the child’s safety and
24   wellbeing. ORR appoints Child Advocates in a very small percentage of cases when an
25   unaccompanied child has unique vulnerabilities including, but not limited to, a history
26   indicative of human trafficking, experiences that indicate that the child’s parent may be
27   unfit to receive the child, a disability, or no viable option for sponsorship. I believe all
28   accompanied children for whom parent separation is contemplated should have the
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 1   benefit of a Child Advocate who is dedicated to advocating for the child’s best interest
 2   throughout the process.
 3         24.    It is my strong opinion, based upon more than a decade of work with
 4   immigrant children, that separating children from their parents with zero safeguards will
 5   place children in harm’s way. This harm will be further exacerbated by the well-
 6   documented realities of trauma and harm children experience upon separation, which I
 7   have observed firsthand.
 8         25.    The ORR reunification process includes significant safeguards that ICE has
 9   no infrastructure to mirror. Prior to the release of an unaccompanied child, the
10   government conducts criminal background and sex-offender registry checks. The
11   identity of the adult who applies to receive a child is confirmed and their relationship is
12   verified. Social workers—both case managers and clinicians—conduct multiple, in-
13   depth interviews with potential sponsors, unaccompanied children, and each child’s
14   parent. Phone calls between sponsors and children are observed, analyzed, and
15   documented. ORR works to confirm that a sponsor does not have a record of abusive
16   behavior and ensure that a sponsor is able to provide for the child’s physical and mental
17   wellbeing. In many circumstances, ORR collects biometrics (fingerprints) and requires
18   the completion of a home study in advance of a child’s release. All release decisions are
19   reviewed by a third-party contractor, GDIT, an ORR-appointed Federal Field Specialist,
20   and in many circumstances, an ORR Headquarters Supervisory official. In other words,
21   prior to the release of any unaccompanied child—including children who are going to
22   their parent—the following individuals have participated in the decision-making process
23   regarding the child’s release: the child’s case manager, the child’s clinician, the ORR
24   facility’s lead case manager, the ORR’s facility’s lead clinician, the ORR facility’s
25   Program Director, the GDIT Case Coordinator, and the Federal Field Specialist.
26         26.    These procedures are often overly burdensome and create unjustifiable
27   delays in the release process. ORR reunification procedures are far from perfect and I
28   have represented numerous children who languished in detention because of phantom
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 1    allegations that a sponsor was not suitable to provide appropriate care to the child.
 2    However, in the case of accompanied children who are separated by the United States
 3    government from their parents, these protections, at minimum, are critical.
 4           27.     During the last three years, ICE and ORR collaboration has led to
 5    additional procedures to verify and report the immigration status of sponsors for the
 6    purpose of enforcement operations.1 This enhanced coordination has led to the arrest of
 7    sponsors who sought to provide care to children based upon their lack of immigration
 8    status. The use of children in ORR custody as bait to arrest and deport individuals
 9    without status in the United States has chilled the release process for unaccompanied
10    children.
11           28.     Currently, when families are released from detention as a family unit to
12    travel to their sponsor’s residence, they are dropped off at the bus station or airport by
13    ICE. Presumably, if children are separated and released alone, ICE will either transport
14    the child directly to their sponsor, or the sponsor will be required to travel to Dilley,
15    Texas. It is unknown if ICE will use the sponsorship process for accompanied children
16    to arrest identified sponsors. It is also unknown if ICE will use ICE Deportation
17    Officers, third-party security personnel, or child welfare workers to transport children
18    alone without their parent to a sponsor. These logistics are critical, as children, including
19    infants as young as one year of age could be separated under ICE and Class Counsel’s
20    proposed family separation plan. Children this young must travel in the lap of an adult.
21    Will an ICE Deportation Officer be carrying an infant on his or her lap to the infant’s
22    final destination?
23           29.     In my experience, ICE has never conducted a suitability assessment of a
24    sponsor for an accompanied child and it is not equipped to do so. ICE is a law
25
26           1
               See Women’s Refugee Commission, et al, Children as Bait: Impacts of the ORR-DHS Information-
      Sharing Agreement (March 2019), https://immigrantjustice.org/sites/default/files/content-type/research-
27    item/documents/2019-03/Children-as-Bait.pdf; Daniella Silva, ICE Arrested 170 Immigrants Seeking to Sponsor
      Migrant Children, NBC News (Dec. 11, 2018), https://www.nbcnews.com/news/latino/ice-arrested-170-
28    immigrants-seeking-sponsor-migrant-children-n946621
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 1    enforcement agency, not a child welfare agency. The difference between ORR and ICE
 2    is sharp, and children and their parents feel the distinction. ICE’s mission is to deport
 3    individuals—including children—regardless of their circumstances and the child’s best
 4    interests. ORR’s mission, on the other hand, is to protect the safety and wellbeing of the
 5    children in its care and to ensure, to the greatest extent possible, a child’s safety and
 6    wellbeing upon release from detention. For example, many of my unaccompanied child
 7    clients had trusting relationships with their ORR case manager and clinician that
 8    facilitated important disclosures, such as information regarding the child’s experiences
 9    of past trauma and harm. My accompanied child clients do not have access to anyone
10    they trust who is charged with protecting their safety in the reunification process at the
11    ICE detention centers where they are held. In fact, no one is tasked with reunification
12    duties in family detention centers at all—because it has been ICE’s practice to release
13    children and their accompanying parent together. Moreover, all those who work at
14    Dilley report to ICE: CoreCivic employees are ICE-contracted and controlled and
15    medical professionals at the facility are ICE employees. There is an unavoidable tension
16    between caring for children and deporting them that is better navigated for
17    unaccompanied children in ORR custody by ORR’s infrastructure and mission. The
18    clear division between the Department of Homeland Security (“DHS”) and Department
19    of Health and Human Services that exists for unaccompanied children is missing for
20    accompanied children. Should ICE choose to proceed in establishing a new formal
21    family separation policy, child welfare experts—independent of ICE—must be infused
22    into the process and have the power to make critical decisions to protect children.
23          30.    Another important protection for children that exists in the ORR system
24    and not in the ICE system is access to counsel. Children in ORR custody have the
25    benefit of access to legal services that are funded by the government. No such system
26    exists for accompanied children. Although the Executive Office of Immigration Review
27    operates an Access to Justice program that funds Know Your Rights presentations in
28    many ICE facilities, these services are not funded for families who are detained at
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 1    STFRC, even though STFRC is the largest ICE detention facility in the country. The
 2    services provided by Proyecto Dilley are funded through small grants and private
 3    donations which have dwindled over the past two years while the administration’s new
 4    attacks on asylum seekers have created a critical need for funding to provide legal
 5    services for asylum-seekers who are forced to wait in Mexico. Worse, there is no access
 6    to counsel in CBP custody, where I understand family separation conversations will
 7    initially occur.
 8
 9    Proyecto Dilley Observed the Aftermath of ICE’s 2018 Family Separation Policy and
10    Its Many Civil Rights Violations.
11           31.    During the summer of 2018, Proyecto Dilley represented approximately
12    100 families that were reunited in Dilley subsequent to months of separation. Prior to
13    reunification, mothers were presented with a binary choice: be deported alone, or be
14    deported with your child. The choice was presented to parents by ICE officers in writing
15    using a waiver form developed and agreed upon by class counsel in Ms. L. v. ICE and
16    the government.
17           32.    The circumstances upon which this form was presented to parents who
18    were separated from their children as part of the government’s Zero Tolerance policy are
19    worth noting. At the time, children had been separated from their parents for months.
20    Many parents did not know where their children were located, who was providing them
21    with care, or how to communicate with them. While separated from their children,
22    parents were subjected to credible fear interviews. Many parents received negative
23    credible fear determinations because during their interview, rather than focusing on the
24    persecution and torture that precipitated their flight to the United States, they instead
25    begged asylum officers to tell them how they could find their children. Children, on the
26    other hand, were treated as unaccompanied children and issued Notices to Appear in
27    removal proceedings. Within this context, many parents selected the choice they
28    believed was necessary to reunify with their child: deportation with their child.
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 1          33.    When families arrived to Dilley, we quickly learned that none of the
 2    mothers or children wanted to be deported; the mothers selected this option only
 3    because they saw no other way to reunify with their child. At that time, ICE intended to
 4    rapidly deport each family together. Yet every individual who seeks protection from
 5    persecution or torture has an international right proscribed by federal law to present
 6    their claim of fear and seek asylum. The previously-separated and now-reunited
 7    children, however, were never afforded the opportunity to present their claims of fear to
 8    an immigration judge or asylum officer. Without written notice, ICE administrative
 9    cancelled every child’s Notice to Appear in secret while making plans to remove the
10    children from the United States with no process at all.
11          34.    These now-reunified children filed suit in the District of Columbia to
12    defend their right to seek asylum. See M.M.M. v. Sessions, 319 F. Supp. 290, 293
13    (D.D.C. 2018). The children argued that the government’s intention to remove them
14    without any process violated their statutory rights. Id. The children also argued that as
15    children, they required the presence of their parents in order to present their claims for
16    asylum. Id. This is because children cannot meaningfully understand the proceedings
17    against them or testify to the persecution and torture they have experienced and fear
18    absent the assistance of their parents who can speak on their behalf.
19          35.    Simultaneously, formerly separated parents filed suit to challenge the
20    integrity of the credible fear proceedings that resulted in their orders of expedited
21    removal. Dora v. Sessions, No. 18-cv-1938-PLF, Doc. 3 (D.D.C. Aug. 17, 2018). In
22    Dora, parents argued that the Trump administration wrongfully deprived them of their
23    right to apply for asylum by forcing them through credible fear interviews while they
24    were traumatized and incapable of participating in those interviews. Id. As a result of
25    the forced separation from their children, parents were deprived a fair process. Id.
26          36.    M.M.M. and Dora were transferred to the Ms. L. court. The three cases
27    combined to result in a global settlement agreement that provided every child with an
28    opportunity to present their claim for asylum and every parent with a new interview. See
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 1    Plan to Address the Asylum Claims of Class-Member Parents and Children Who are
 2    Physically Present in the United States, Ms. L., No. 3:18-cv-428-DMS, Doc. 220-1 (S.D.
 3    Cal. Sept. 12, 2018). Relevant to this Court is the fact that, subsequent to agreement by
 4    class counsel and the government in the Ms. L. litigation, multiple federal lawsuits
 5    ensued to challenge the agreed upon binary choice procedures.
 6          37.    These same due process concerns are relevant to the issues before the Court
 7    today. As an attorney representing Class Members, I do not know if separated
 8    accompanied children will be issued a Notice to Appear and afforded the statutory
 9    protections provided to unaccompanied children, including initial jurisdiction to present
10    their asylum claim to the asylum office. I also do not know if parents will be deported
11    without their children upon separation and if so, how children will present their asylum
12    claims alone, without the presence of their parent.
13          38.    Three additional variables are strikingly similar between the family
14    separation written binary choice process used in 2018 and the process that is currently
15    contemplated by Class Counsel and the government. These similarities include the use
16    of a written form absent the provision of critical information and access to counsel
17    during coercive circumstances.
18          39.    During the binary choice process in 2018, parents were deprived of
19    necessary information regarding their legal rights and the rights of their minor children.
20    Parents did not know what would happen to their children if they were deported without
21    them. Parents lacked key information regarding the care their child would receive while
22    in government custody and upon release to a sponsor. They did not know if their child
23    had the opportunity to seek asylum, and if so, the details of the process their child would
24    be afforded. Such is the case here. Parents do not know what will happen to their child
25    upon separation. For example, parents do not know if the government will investigate
26    the home of a sponsor prior to their child’s release; if children will be released directly
27    to a sponsor or be transferred first to ORR custody; if sponsors will receive formal
28    rights of guardianship under state law (something that does not happen when
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 1    unaccompanied children are released); or how children will be transported—alone—
 2    from Dilley to the homes of their designated sponsors. They also do not know if their
 3    parental rights will be impacted upon separation from their child, if and how they can
 4    choose to have their children returned to them after separation (including through
 5    repatriation), or if they will be provided the opportunity to return to the United States to
 6    participate in guardianship or child welfare proceedings in-person in relation to their
 7    child.
 8             40.   The proposed protocol also hinges upon the presentation of a written form,
 9    absent the presence and assistance of counsel. Although the binary choice process
10    created by Ms. L. class counsel and the government was a process based upon the
11    completion of a form alone, we quickly learned from conversations with our clients that
12    the process was abused by immigration officers. In the fall of 2018, we surveyed 76
13    mothers who, while separated from their children, were invited by ICE officers to sign a
14    form affecting their rights to be reunified with their children. Over 90 percent of the
15    mothers we surveyed reported that they were not allowed to ask ICE officers any
16    questions about the consequences of signing the form. This was particularly unjust for
17    mothers who could not read the form presented to them, and mothers who spoke rare
18    indigenous languages and who were not presented with a form in their language. More
19    than 75 percent of the mothers we surveyed stated that they did not understand what
20    they were signing. Disturbingly, 67 percent of the mothers reported that ICE intimidated
21    or coerced them into signing the form that affected their rights to reunify with their
22    children. Worse, 30 percent of the mothers surveyed reported that ICE officers
23    threatened that if they did not sign the form, they would never see their children again.
24             41.   The results of our survey were published in a report filed with the DHS’s
25    Office of Civil Rights and Civil Liberties that is attached to my declaration as Exhibit
26    A.2 The report documents numerous civil rights violations that occurred during the
27
      2
        Also available at
28    https://www.americanimmigrationcouncil.org/sites/default/files/general_litigation/the_use_of_coercion_by_u.s.
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 1    government’s use of the negotiated binary choice procedures, including, but not limited
 2    to:
 3                 • The use of physical and verbal threats, deception, and intimidation by ICE
 4                    officers to coerce separated parents into signing forms to relinquish their
 5                    rights to their child;
 6                 • ICE officers presenting mothers with pre-completed forms that affected
 7                    their rights to reunification;
 8                 • Actions by CBP officers that subjected parents and children to extreme
 9                    duress during the separation process, including verbal and physical abuse;
10                 • The use solitary confinement as retaliatory punishment for mothers’
11                    ongoing efforts to find their children after separation; and
12                 • Severe physical and emotional distress, depression, and mental health
13                    problems experienced by parents as a result of their separation from their
14                    children.
15           42.      The circumstances that surrounded the binary choice forms used in 2018
16    were coercive because, at the time the forms were presented, mothers were separated
17    from their children. Here, parental decision-making is also coercive because children are
18    being held in indefinite detention in congregate care settings during a COVID-19
19    outbreak.
20           43.      The dangerous conditions in Dilley continue despite the Court’s repeated
21    orders that ICE make every effort to comply with CDC guidelines. For example, after
22    the Court’s June 26, 2020 Order, on July 2, 2020, the facility held an all-facility Fourth
23    of July celebration. Children and parents played tic-tac-toe and soccer. There were board
24    games, group puzzles, water games, and face painting. Children shared water guns and
25    mothers fell on top of each other when they lost tug-o-war. The day culminated in long
26    lines where mothers and children stood side by side to get a snow cone. Although the
27
      _department_of_homeland_security_officials_against_parents_who_were_forcibly_separated_from_their_childr
28    en_public_fin_0.pdf.
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 1    facility is divided by complexes, during the Fourth of July celebration, families from
 2    every complex participated simultaneously in games and activities in the red gym. The
 3    ironic Fourth of July celebration at Dilley confirmed what we already know to be true:
 4    ICE is unable to ensure the even the basics to keep children safe.
 5
 6    Proyecto Dilley has Long Observed ICE’s Non-Compliance with This Court’s Orders
 7    and the Flores Settlement Agreement.
 8          44.     ICE has a long history of ignoring the orders of this Court. Proyecto Dilley
 9    has closely tracked ongoing violations of the Settlement at STFRC for years and has
10    repeatedly requested the assistance of Class Counsel in escalating violations of the
11    Settlement.
12          45.     My work with Proyecto Dilley began in March 2016, and I took over
13    leadership for the project in December 2016. I was living in Dilley on June 27, 2017
14    when this Court determined that STFRC is a secure facility unlicensed by the state of
15    Texas. Our team quickly mobilized to create capacity to provide support to the families
16    we anticipated would be immediately released, given this Court’s determination that
17    Dilley did not comply with the explicit terms of the Settlement. See June 27, 2017 Order
18    [Doc # 363]. Instead, ICE continued to bring new families to Dilley.
19          46.     For years, Proyecto Dilley operated a remote volunteer team that tracked
20    the length of detention for every child represented by the project. The work of this
21    remote team was finally suspended in or around the Fall of 2019 when it became
22    apparent that the data regarding the length of detention for children in Dilley was no
23    longer a persuasive means of deterring the unlawful prolonged detention of children in
24    Dilley by ICE. We resumed this tracking in February 2020 to support a complaint we
25    filed with DHS’s Office of Civil Rights and Civil Liberties regarding violations of the
26    Settlement.
27          47.     A pillar of our work in Dilley is providing access to legal information
28    through regular provision of Know Your Rights presentations. Our introductory Know
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 1    Your Rights presentation has regularly included information about the requirements of
 2    the Settlement. We inform our clients that their children may not be detained for more
 3    than 20 days. Over the past year, ICE has—with few exceptions— detained every
 4    family in Dilley for more than 20 day. Because the terms of the Settlement have
 5    therefore becoming meaningless, we have eliminated advisals regarding the Settlement
 6    from our Know Your Rights presentations.
 7          48.    During the last three and a half years, I have participated in ongoing
 8    stakeholder meetings with ICE. For many years, Proyecto Dilley met weekly with
 9    STFRC’s Assistant Field Office Director and ICE counsel. Although during 2017 key
10    ICE stakeholders were aware and generally respectful of the requirements of the
11    Settlement, ICE’s refusal to honor its obligations under the Settlement became
12    increasingly emboldened over time. For example, in the Fall of 2018, we had more
13    approximately 100 children who were detained for around four months prior to their
14    release. ICE’s position was that these children—the children previously referenced who
15    were separated and subsequently reunified with their mothers—were not eligible for
16    release because their mothers had orders of expedited removal. Indeed, as detailed
17    above, every single mother who was reunited in Dilley received a new credible fear
18    proceeding as a result of the global settlement agreement in Ms. L. and every single
19    mother and child was issued a positive credible fear finding subsequent to that new
20    interview. It was not until after the families were issued Notices to Appear as a result of
21    federal litigation that ICE released these families. I repeatedly reminded ICE, both in
22    writing and in person, of its obligation to release children under the Settlement
23    regardless of the status of their immigration court proceeding or the status of their
24    mother’s immigration court proceeding, as clarified in this Court’s June 27, 2017 Order.
25    ICE’s position was that the Settlement provided no presumption of release for these
26    families.
27          49.    ICE leaders in Dilley have regularly stated that the Settlement does not
28    require that children be released within 20 days, does not require efforts, let alone
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 1    continuous efforts, to release children, does not require placement in a licensed facility,
 2    and does not allow immigration court to have jurisdiction to conduct custody review
 3    hearings for children. For example, in one case, I represented a fourteen-year-old girl
 4    who, despite being in removal proceedings, was detained in Dilley for more than seven
 5    months because her mother had a final order of removal which was pending appeal with
 6    the Board of Immigration Appeals and a pending U-visa application based upon severe
 7    domestic violence that she reported to the police. In this case, ICE refused to release the
 8    child or family. I repeatedly advised ICE of its obligations to consider the release of the
 9    child and provided documentary evidence that prolonged detention was impacting the
10    child’s mental health such that she had developed suicidal ideations. ICE ignored this
11    information and made no efforts to release the child alone or with her mother. It was not
12    until after the child attempted to hang herself from a shower rod in the bathroom, and a
13    complaint to the DHS Office of Civil Rights and Civil Liberties, that ICE released the
14    child in the care to her mother.
15          50.    I believe the failure to enforce the Settlement’s terms over time has led to
16    the present circumstance of near universal indefinite detention in Dilley. As of today,
17    July 20, 2020, 51 children who are currently detained in Dilley have been detained for
18    more than 180 days and one three-year-old child has been detained for 340 days.
19    Indefinite detention is the new norm.
20          51.    A handful of times, a team of volunteers working with Class Counsel have
21    conducted Flores monitoring visits to STFRC. In each of these occasions, Class Counsel
22    has failed to reach out to Proyecto Dilley in advance to coordinate the visit. In fact, on
23    most occasions, I learned about the monitoring trips through a third party just days
24    before the visit, or even on the day of the visit itself. In each of these circumstances, our
25    team quickly mobilized to identify children and parents who wanted to speak with Class
26    Counsel. Despite the failure to coordinate with our project in advance, we were able to
27    swiftly provide on the ground support to ensure Flores monitors had access to Class
28    Members and critical information. We were never advised how the declarations gathered
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 1    from our clients were used, if at all, to defend their right to prompt release, right to
 2    placement in a non-secure licensed facility, and right to safe and sanitary conditions.
 3          52.    The concerns I present above are by no means an exhaustive list of the
 4    issues at stake should the Court proceed in approving a new and permanent family
 5    separation policy. I merely hope to convey the delicate intricacies at play that require
 6    meaningful consideration by this Court.
 7
 8    I declare under penalty of perjury that the foregoing is true and correct.
 9
10    Executed this 20th Day of July, 2020 in San Antonio, Texas.
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12
13                                        /s/ Shalyn Fluharty
                                          Shalyn Fluharty
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